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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                                 NOTICE OF COMPLIANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court that it has complied with the Court’s

September 6, 2020 Minute Order by delivering three bound and indexed copies of [198], the

Government's motion to dismiss, and [227], the Government's response to Court-appointed

amicus curiae to the Courthouse loading dock located at the corner of 3rd and C Streets, N.W.


                                                     Respectfully submitted,

                                                     MICHAEL R. SHERWIN
                                                     United States Attorney
                                                     NY Bar No. 4444188

                                                     By: /s/ Jocelyn Ballantine
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
                                                     CA Bar No. 208267
                                                     555 4th Street NW
                                                     Washington, D.C. 20530

Dated: September 10, 2020
